 Case 1:17-bk-12408-MB                            Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48                                                       Desc
                                                   Main Document    Page 1 of 41

                                          UNITED STATES DEPARTMENT OF JUSTICE
                                          OFFICE OF THE UNITED STATES TRUSTEE
                                            CENTRAL DISTRICT OF CALIFORNIA
In Re:                                                                              CHAPTER 11 (BUSINESS)

    ICPW Liquidation Corporation,                                                   Case Number:             1:17-bk-12408-MB
    a California corporation                                                        Operating Report Number:                    2
                                                               Debtor(s).           For the Month Ending:               31-Oct-17

                                            I. CASH RECEIPTS AND DISBURSEMENTS
                                                   A. (GENERAL ACCOUNT*)

1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                                                                        831,523.72

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                                                                             120,689.85
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                                                          813,350.62

4. RECEIPTS DURING CURRENT PERIOD:
   Accounts Receivable - Post-filing                                                                       488,160.23
   Accounts Receivable - Pre-filing                                                                        702,816.47
   General Sales
   Other (Specify)
   **Other (Specify)

    TOTAL RECEIPTS THIS PERIOD:                                                                                                             1,190,976.70

5. BALANCE:                                                                                                                                 2,004,327.32

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   Transfers to Other DIP Accounts (from page 2) (1,725,000.00)
   Disbursements (from page 2)                      (10,300.63)

    TOTAL DISBURSEMENTS THIS PERIOD:***                                                                                                    (1,735,300.63)

7. ENDING BALANCE:                                                                                                                             269,026.69

8. General Account Number(s):                                                                  0567

    Depository Name & Location:                                                Capital One



* All receipts must be deposited into the general account.
** Include receipts from the sale of any real or personal property out of the ordinary course of business; attach an exhibit specifying what was sold,
    to whom, terms, and date of Court Order or Report of Sale.
***This amount should be the same as the total from page 2.

                                                                        Page 1 of 16
                 Case 1:17-bk-12408-MB                     Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48                                     Desc
                                                            Main Document    Page 2 of 41

                                 TOTAL DISBURSEMENTS FROM GENERAL ACCOUNT FOR CURRENT PERIOD

   Date                  Check       Payee or DIP                                                          *Amount              **Amount
 mm/dd/yyyy             Number         account                              Purpose                        Transfered           Disbursed         Amount
    10/11/2017                   Capital One         Bank Fees                                                                        (29.95)           (29.95)
    10/11/2017                   Capital One         Bank Fees                                                                     (2,031.92)        (2,031.92)
    10/11/2017                   Capital One         Bank Fees                                                                     (4,915.72)        (4,915.72)
    10/17/2017                   Disbursements Account                                                       (100,000.00)                          (100,000.00)
    10/19/2017                   Vallen Distribution Reversal of Payment                                                           (1,497.60)        (1,497.60)
    10/23/2017                   Disbursements Account                                                       (125,000.00)                          (125,000.00)
    10/24/2017                   Capital One         Bank Fees                                                                     (1,825.44)        (1,825.44)
    10/25/2017                   CA - DIP Account                                                          (1,400,000.00)                        (1,400,000.00)
    10/27/2017                   Disbursements Account                                                       (100,000.00)                          (100,000.00)
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                                                                                                                                          0.00
                                              TOTAL DISBURSEMENTS THIS PERIOD:                             (1,725,000.00)         (10,300.63)   ($1,735,300.63)
* Fill in amounts in this column if they are TRANSFERS to another DIP account (e.g. Payroll or Tax); the "amount" column will
be filled in for you.
** Fill in amounts in this column if they are DISBURSEMENTS to outside payees; the "amount" column will be filled in for you.

                                                                               Page 2 of 16
                 Case 1:17-bk-12408-MB                             Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48             Desc
                                                                    Main Document    Page 3 of 41

                                                                GENERAL ACCOUNT
                                                               BANK RECONCILIATION

                           Bank statement Date:                               10/31/2017 Balance on Statement:    $269,026.69

Plus deposits in transit (a):
                                                                       Deposit Date              Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                                0.00
Less Outstanding Checks (a):
                    Check Number                                           Check Date             Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                                0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                            $269,026.69
* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment


                                                                                        Page 3 of 16
        Case 1:17-bk-12408-MB        Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48   Desc
                                      Main Document    Page 4 of 41

                          I. CASH RECEIPTS AND DISBURSEMENTS
                                     B. (Disbursements)

1. TOTAL RECEIPTS PER ALL PRIOR DISBURSEMENTS ACCOUNT REPOR                      616,000.49

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR DISBURSMENTS                          641,354.55
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                             87,647.06

4. RECEIPTS DURING CURRENT PERIOD:                                    *        1,124,000.00
   (Transferred from General Account)

5. BALANCE:                                                                    1,211,647.06

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD:***                                        (1,149,849.53)

7. ENDING BALANCE:                                                                61,797.53

8. Disbursement Account Number(s):                       0575

  Depository Name & Location:                    Capital One


  * Includes drawdown on Radians DIP line




                                               Page 4 of 16
        Case 1:17-bk-12408-MB      Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48   Desc
                                    Main Document    Page 5 of 41

               TOTAL DISBURSEMENTS FROM PAYROLL ACCOUNT FOR CURRENT PERIOD


  Date      Check
mm/dd/yyyy Number                Payee                          Purpose               Amount
  10/3/2017   ACH    YRC NATIONAL EPAYMENTS IFreight                                      (250.56)
  10/3/2017   ACH    YRC NATIONAL EPAYMENTS IFreight                                      (609.89)
  10/3/2017   ACH    US CBP    PAYMENT IRONCLCustoms                                      (921.94)
  10/3/2017   ACH    YRC NATIONAL EPAYMENTS IFreight                                      (194.33)
  10/6/2017   ACH    US CBP    PAYMENT IRONCLCustoms                                    (5,600.22)
 10/11/2017   ACH    US CBP    PAYMENT IRONCLCustoms                                    (2,990.99)
 10/13/2017   ACH    YRC NATIONAL EPAYMENTS IFreight                                    (1,839.85)
 10/13/2017   ACH    US CBP    PAYMENT IRONCLCustoms                                    (1,966.33)
 10/13/2017   ACH    AMEX EPAYMENT ACH PMT WCredit Card Payments                       (46,904.44)
 10/16/2017   ACH    YRC NATIONAL EPAYMENTS IFreight                                    (1,122.52)
 10/16/2017   ACH    US CBP    PAYMENT IRONCLCustoms                                    (4,106.07)
 10/16/2017   ACH    US CBP    PAYMENT IRONCLCustoms                                   (11,171.67)
 10/17/2017   ACH    YRC NATIONAL EPAYMENTS IFreight                                      (458.52)
 10/17/2017   ACH    US CBP    PAYMENT IRONCLCustoms                                    (1,520.99)
 10/18/2017   ACH    YRC NATIONAL EPAYMENTS IFreight                                      (358.51)
 10/23/2017   ACH    US CBP    PAYMENT IRONCLCustoms                                      (533.69)
 10/23/2017   ACH    US CBP    PAYMENT IRONCLCustoms                                    (2,376.60)
 10/23/2017   ACH    US CBP    PAYMENT IRONCLCustoms                                    (9,352.72)
 10/23/2017   ACH    AMEX EPAYMENT ACH PMT WCredit Card Payments                       (20,000.00)
 10/24/2017   ACH    YRC NATIONAL EPAYMENTS IFreight                                      (655.14)
 10/24/2017   ACH    YRC NATIONAL EPAYMENTS IFreight                                      (666.59)
 10/24/2017   ACH    US CBP    PAYMENT IRONCLCustoms                                    (3,171.23)
 10/26/2017   ACH    FEDERAL EXPRESS DEBIT IROFreight                                     (882.24)
 10/27/2017   ACH    US CBP    PAYMENT IRONCLCustoms                                      (439.06)
 10/27/2017   ACH    YRC NATIONAL EPAYMENTS IFreight                                      (910.46)
 10/27/2017   ACH    FEDERAL EXPRESS DEBIT IROFreight                                   (3,551.39)
 10/30/2017   ACH    FEDERAL EXPRESS DEBIT IROFreight                                      (56.13)
 10/30/2017   ACH    YRC NATIONAL EPAYMENTS IFreight                                      (244.77)
 10/31/2017   ACH    FEDERAL EXPRESS DEBIT IROFreight                                     (268.13)
 10/31/2017   ACH    US CBP    PAYMENT IRONCLCustoms                                    (9,577.00)
  10/3/2017   Wire   PERFORMANCE PPE (INTERNATIInternational Payroll                   (19,572.37)
  10/6/2017   Wire   PT SEOK HWA INDONESIA US Vendor Payment                           (57,933.00)
  10/6/2017   Wire   AML UNITED LIMITED     USD0Vendor Payment                          (4,259.52)
 10/10/2017   Wire   PT MERCINDO GLOBAL MANUIFVendor Payment                           (45,834.15)
 10/10/2017   Wire   CHANG BANG GLOVES(HONG KOVendor Payment                            (7,969.36)
 10/11/2017   Wire   PPE           GBP0002367802 International Payroll                 (14,647.52)
 10/11/2017   Wire   TRINET EMPLOYER GROUP CAN Payroll                                  (4,057.96)
 10/13/2017   Wire   CHANG BANG GLOVES(HONG KOVendor Payment                           (37,405.12)
 10/13/2017   Wire   ZHENG JIANQIAO       USD0002Employee Expense Reimbursement         (2,190.19)
 10/13/2017   Wire   ZHANG JUNWEI        USD0002 Employee Expense Reimbursement         (1,487.86)
 10/19/2017   Wire   SHANGHAI KEYMEN HR SERVIC International Payroll                    (7,622.28)
                                              Page 5 of 16
       Case 1:17-bk-12408-MB         Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48   Desc
                                      Main Document    Page 6 of 41

10/24/2017   Wire     IRONCLAD PERFORMANCE WEAInternational Payroll                      (25,000.00)
10/24/2017   Wire     CHANG BANG GLOVES(HONG KOVendor Payment                             (6,436.88)
10/25/2017   Wire     PT MERCINDO GLOBAL MANUIFVendor Payment                            (31,372.70)
10/25/2017   Wire     TRINET EMPLOYER GROUP CAN Payroll                                   (3,952.95)
10/27/2017   Wire     CHANG BANG GLOVES(HONG KOVendor Payment                            (70,151.50)
 10/2/2017   Wire     WONEEL AMERICA INC - 0002325Vendor Payment                         (18,780.84)
 10/3/2017   Wire     CHARLES SCHWAB BANK - 00023401k Deposit                             (8,185.90)
 10/4/2017   Wire     ADVANTAGE MEDIA SERVICES -Warehouse Payment                        (40,182.75)
 10/6/2017   Wire     CHARLES SCHWAB BANK - 00023401k Deposit                               (682.60)
10/11/2017   Wire     TRINET HR III,INC - 0002366537 Payroll                            (114,671.84)
10/11/2017   Wire     ADVANTAGE MEDIA SERVICES -Warehouse Payment                         (9,250.00)
10/13/2017   Wire     WONEEL AMERICA INC - 0002380Vendor Payment                         (21,559.78)
10/18/2017   Wire     ADVANTAGE MEDIA SERVICES -Warehouse Payment                         (9,250.00)
10/19/2017   Wire     ADVANTAGE MEDIA SERVICES -Warehouse Payment                         (7,282.20)
10/24/2017   Wire     HOMELAND SECURITY - CUSTOM     Customs                             (11,781.49)
10/25/2017   Wire     TRINET HR III,INC - 0002428222 Payroll                            (101,448.68)
10/25/2017   Wire     ADVANTAGE MEDIA SERVICES -Warehouse Payment                         (9,250.00)
10/26/2017   Wire     TRINET HR III,INC - 0002434112 Payroll                             (33,492.47)
10/26/2017   Wire     CHARLES SCHWAB BANK - 00024401k Deposit                            (16,644.85)
10/27/2017   Wire     WONEEL AMERICA INC - 0002439Vendor Payment                         (20,408.98)
10/31/2017     5659   Louis Geoffrey Greulich        Expense Reimbursement                (7,693.48)
 10/2/2017     5580   Ginger Hill                    Marketing Consultant                    (37.50)
 10/2/2017     5581   Derek Eshleman                 Expense Reimbursement                   (81.68)
 10/2/2017     5546   Wendell Witt                   Expense Reimbursement                  (433.54)
 10/2/2017     5576   Stephanie Dixon                Temp Salary                            (800.00)
 10/2/2017     5570   Matthew Pliskin                CFO Salary                           (4,500.00)
 10/2/2017     5568   Louis Geoffrey Greulich        Expense Reimbursement                (8,750.00)
 10/2/2017     5571   Matthew Pliskin                CFO Salary                           (9,000.00)
 10/2/2017     5569   Louis Geoffrey Greulich        CEO Salary                          (17,500.00)
 10/4/2017     5585   CIS Custom Information         IT                                   (1,998.01)
 10/4/2017     5578   Account Temps                  Temp Salary                          (2,677.86)
 10/4/2017     5579   Synetra                        IT                                   (2,814.50)
 10/5/2017     5577   Office Depot Acct 31A          Office Supplies                        (116.75)
 10/5/2017     5584   Hewlett Packard                IT                                     (364.80)
 10/5/2017     5582   Liaison Technologies, Inc.     EDI                                    (945.00)
 10/5/2017     5573   Risk Consulting Partners       Insurance                            (7,192.75)
 10/6/2017     5575   Atmos Energy                   Gas Bill                                (51.98)
 10/6/2017     5592   Stephanie Dixon                Temp Salary                            (150.00)
10/10/2017     5553   William N. Thomas              Expense Reimbursement                  (150.00)
10/10/2017     5595   Stephanie Dixon                Temp Salary                            (800.00)
10/10/2017     5593   Mike Fowler                    Expense Reimbursement                  (951.73)
10/10/2017     5598   Greg Ellison                   Expense Reimbursement                (1,100.00)
10/10/2017     5537   Windstream                     Internet                             (1,756.85)
10/10/2017     5599   Matthew Ferguson               Expense Reimbursement                (2,000.00)
10/10/2017     5597   Michelle Kim                   Expense Reimbursement                (2,000.00)
10/11/2017     5554   Lisa Patterson                 Expense Reimbursement                  (150.00)
                                                 Page 5 of 16
       Case 1:17-bk-12408-MB       Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48     Desc
                                    Main Document    Page 7 of 41

10/12/2017   5572   Risk Consulting Partners       Insurance                             (6,270.51)
10/13/2017   5614   Daniel Urena                   Expense Reimbursement                   (100.00)
10/13/2017   5642   Xin Guo                        Expense Reimbursement                   (100.00)
10/13/2017   5618   Jason Merchant                 Expense Reimbursement                   (100.00)
10/13/2017   5616   Eric Jaeger                    Expense Reimbursement                   (101.00)
10/13/2017   5594   Brand ID, LLC                  Marketing Expense                       (105.87)
10/13/2017   5637   Stephanie Dixon                Temp Salary                             (845.00)
10/13/2017   5615   Derek Eshleman                 Expense Reimbursement                 (3,536.56)
10/13/2017   5602   Matthew Pliskin                CFO Salary & Expense Reimbursement   (12,518.21)
10/16/2017   5606   Abraham Feld                   Expense Reimbursement                   (100.00)
10/16/2017   5610   Chartrice Morris               Expense Reimbursement                   (100.00)
10/16/2017   5638   Turner VonAlman                Expense Reimbursement                   (100.00)
10/16/2017   5632   Safeco Building Maintenance    Cleaning Services                       (646.35)
10/16/2017   5630   Ron Broussard                  Expense Reimbursement                 (2,048.47)
10/16/2017   5600   Account Temps                  Temp Salary                           (7,589.04)
10/17/2017   5623   Lisa Patterson                 Expense Reimbursement                   (150.00)
10/17/2017   5640   William N. Thomas              Expense Reimbursement                   (150.00)
10/17/2017   5645   Matthew Ferguson               Expense Reimbursement                   (150.00)
10/17/2017   5633   Scott Warmus                   Expense Reimbursement                   (471.39)
10/17/2017   5626   Mike Fowler                    Expense Reimbursement                   (824.07)
10/17/2017   5646   Konica Minolta                 Copier Lease                          (1,501.71)
10/18/2017   5621   Ken Rogus                      Expense Reimbursement                   (137.23)
10/18/2017   5644   Commerce Technologies, Inc.    EDI                                     (145.45)
10/18/2017   5608   Broadridge                     Investor Information                    (246.08)
10/18/2017   5617   Greg Ellison                   Expense Reimbursement                   (653.88)
10/18/2017   5643   Yellow and Roadway             Freight                               (3,511.95)
10/18/2017   5603   Synetra                        IT                                   (10,524.73)
10/19/2017   5629   Republic Services # 794        Waste Services                          (345.08)
10/19/2017   5625   Michelle Kim                   Expense Reimbursement                   (412.51)
10/19/2017   5647   Pacific Stock Transfer Company Investor Services                       (686.00)
10/19/2017   5639   TXU Energy                     Electricity                           (1,321.24)
10/19/2017   5613   CIS Custom Information         IT                                    (3,204.20)
10/19/2017   5601   Louis Geoffrey Greulich        CEO Salary                           (17,500.00)
10/19/2017   5604   BNSF LOGISTICS INTERNATIONAFreight                                  (24,125.38)
10/20/2017   5607   Atmos Energy                   Gas Bill                                 (51.98)
10/20/2017   5627   Office Depot Acct 31A          Office Supplies                          (53.67)
10/20/2017   5624   Markham Nacion                 Expense Reimbursement                   (100.00)
10/23/2017   5655   Cortera                        Credit Check                              (5.33)
10/23/2017   5636   Stacy Metzler                  Expense Reimbursement                    (52.67)
10/23/2017   5628   Pitney Bowes Credit Corp.      Postage meter                           (105.03)
10/23/2017   5619   Jeff Dooley                    Expense Reimbursement                   (150.00)
10/23/2017   5635   SPS Commerce                   EDI                                     (836.77)
10/23/2017   5653   Stephanie Dixon                Temp Salary                             (950.00)
10/23/2017   5620   Jodi Frank                     Expense Reimbursement                 (3,012.33)
10/24/2017   5656   Eric Jaeger                    Expense Reimbursement                   (498.80)
10/25/2017   5654   Pacific Stock Transfer Company Investor Services                        (70.00)
                                               Page 5 of 16
       Case 1:17-bk-12408-MB      Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48    Desc
                                   Main Document    Page 8 of 41

10/25/2017   5658   Account Temps              Temp Salary                              (1,479.04)
10/26/2017   5651   BNSF LOGISTICS INTERNATIONAFreight                                  (1,301.51)
10/26/2017   5641   Windstream                 Internet                                 (1,768.09)
10/26/2017   5652   BNSF LOGISTICS INTERNATIONAFreight                                  (2,163.27)
10/26/2017   5574   1920 Hutton Court          Rent                                    (10,637.78)
10/27/2017   5612   Chris Day                  Expense Reimbursement                    (1,521.30)
10/27/2017   5648   Dana Marsh                 Expense Reimbursement                    (2,500.00)
10/27/2017   5657   Account Temps              Temp Salary                             (16,382.45)
10/30/2017   5664   Derek Eshleman             Expense Reimbursement                      (441.22)
10/30/2017   5668   Stephanie Dixon            Temp Salary                                (830.00)
10/30/2017   5661   Matthew Pliskin            CFO Salary                               (9,000.00)
10/31/2017   5663   Jeff Dooley                Expense Reimbursement                      (533.40)
10/31/2017   5649   Risk Consulting Partners   Insurance                                (7,192.75)
10/31/2017   5665   Louis Geoffrey Greulich    CEO Salary                              (17,500.00)
10/10/2017   5565   Robert Hildebrand          Expense Reimbursement                       (29.55)
10/10/2017   5564   Robert Hildebrand          Expense Reimbursement                      (760.93)
10/31/2017   5631   Robert Hildebrand          Expense Reimbursement                      (115.60)




                                             TOTAL DISBURSEMENTS THIS PERIOD:        (1,149,849.53)




                                             Page 5 of 16
                 Case 1:17-bk-12408-MB                               Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48      Desc
                                                                      Main Document    Page 9 of 41

                                                               PAYROLL ACCOUNT
                                                              BANK RECONCILIATION

                          Bank statement Date:                             10/31/2017 Balance on Statement:   $61,797.53

Plus deposits in transit (a):
                                                                      Deposit Date         Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                           0.00

Less Outstanding Checks (a):
                    Check Number                                       Check Date           Check Amount
                         5537                                               9/20/2017              1,756.85
                         5540                                               9/20/2017                341.10
                         5553                                               9/20/2017                150.00
                         5557                                               9/20/2017                575.38
                         5564                                               9/20/2017                760.93
                         5567                                               9/21/2017                 14.25
                         5593                                               10/2/2017                951.73
                         5595                                               10/5/2017                800.00
                         5596                                               10/6/2017                575.38
                         5597                                               10/9/2017              2,000.00
                         5598                                               10/9/2017              1,100.00
                         5599                                               10/9/2017              2,000.00
                         5609                                             10/13/2017                 695.00
                         5611                                             10/13/2017                  34.05
                         5634                                             10/13/2017                 125.00
                         5650                                             10/19/2017                 150.05
                         5662                                             10/26/2017                 151.92
                         5665                                             10/26/2017              17,500.00
                         5666                                             10/26/2017              10,637.78
                         5667                                             10/26/2017               6,944.13




TOTAL OUTSTANDING CHECKS:                                                                                      47,263.55

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                        $14,533.98

* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment


                                                                                     Page 6 of 16
         Case 1:17-bk-12408-MB      Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48   Desc
                                     Main Document    Page 10 of 41

                            I. CASH RECEIPTS AND DISBURSEMENTS
                                       C. (DIP Account)

1. TOTAL RECEIPTS PER ALL PRIOR DIP ACCOUNT REPORTS                                    0.00

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR DIP                                         0.00
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                     0

4. RECEIPTS DURING CURRENT PERIOD:                                            1,400,000.00
   (Transferred from General & DIP Accounts)

5. BALANCE:                                                                   1,400,000.00

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD:***                                          199,000.00

7. ENDING BALANCE:                                                            1,201,000.00

8. DIP Account Number(s):                                         3806

  Depository Name & Location:                    Capital One




                                               Page 7 of 16
         Case 1:17-bk-12408-MB      Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48      Desc
                                     Main Document    Page 11 of 41

           TOTAL DISBURSEMENTS FROM TAX ACCOUNT FOR CURRENT PERIOD


   Date     Check
mm/dd/yyyy Number          Payee                             Purpose         Amount
 10/25/2017       Disbursements Account      Transfer                        199,000.00




                                          TOTAL DISBURSEMENTS THIS PERIOD:   199,000.00
                                                    Page 8 of 16
                 Case 1:17-bk-12408-MB                               Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48         Desc
                                                                      Main Document    Page 12 of 41

                                                                 DIP ACCOUNT
                                                              BANK RECONCILIATION

                          Bank statement Date:                             10/31/2017 Balance on Statement:   $1,201,000.00

Plus deposits in transit (a):
                                                                      Deposit Date         Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                              0.00

Less Outstanding Checks (a):
                    Check Number                                       Check Date           Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                              0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                        $1,201,000.00

* It is acceptable to replace this form with a similar form
** Please attach a detailed explanation of any bank statement adjustment


                                                                                     Page 9 of 16
               Case 1:17-bk-12408-MB                         Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48                               Desc
                                                              Main Document    Page 13 of 41

                                                     I. D SUMMARY SCHEDULE OF CASH

ENDING BALANCES FOR THE PERIOD:
                              (Provide a copy of monthly account statements for each of the below)


                                                               General Account:                                  269,026.69
                                                        Disbursements Account:                                    61,797.53
                                                   Debtor In Possession Account:                               1,201,000.00
    *Other Accounts:                                              Schwab                                         276,270.34


       *Other Monies:
                                                        **Petty Cash (from below):                                            0.00

TOTAL CASH AVAILABLE:                                                                                                                1,808,094.56


Petty Cash Transactions:
        Date                                Purpose                                                            Amount




TOTAL PETTY CASH TRANSACTIONS:                                                                                                               0.00



* Specify the Type of holding (e.g. CD, Savings Account, Investment Security), and the depository name, location & account#
** Attach Exhibit Itemizing all petty cash transactions


                                                                                  Page 10 of 16
           Case 1:17-bk-12408-MB           Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48                      Desc
                                            Main Document    Page 14 of 41

                      II. STATUS OF PAYMENTS TO SECURED CREDITORS, LESSORS
                            AND OTHER PARTIES TO EXECUTORY CONTRACTS

                                                                        Post-Petition
                            Frequency of Payments                    payments not made
  Creditor, Lessor, Etc.           (Mo/Qtr)       Amount of Payment      (Number)                  Total Due
1920 Hutton Court           Monthly                      (10,637.78)                  0                        0.00

See disbursements schedule for disbusements to contracting parties




                                                                               TOTAL DUE:                      0.00


                                              III. TAX LIABILITIES

FOR THE REPORTING PERIOD:
                                                             Gross Sales Subject to Sales Tax:           4,899.04
                                                                           Total Wages Paid:           278,946.04

                                                    Total Post-Petition                          Date Delinquent
                                                     Amounts Owing Amount Delinquent              Amount Due
                            Federal Withholding    N/A
                            State Withholding      N/A
                            FICA- Employer's Share N/A
                            FICA- Employee's Share N/A
                            Federal Unemployment N/A
                            Sales and Use                       540.12
                            Real Property                     8,153.00
                   Other:
                                          TOTAL:               8,693.12                 0.00

                                                          Page 11 of 16
                Case 1:17-bk-12408-MB                         Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48                                                    Desc
                                                               Main Document    Page 15 of 41

                                    IV. AGING OF ACCOUNTS PAYABLE AND RECEIVABLE

                                                                            *Accounts Payable                            Accounts Receivable
                                                                              Post-Petition                         Pre-Petition     Post-Petition
                                                            30 days or less       680,946.90                                  0.00    1,076,032.87
                                                              31 - 60 days        168,753.00                            94,212.93     1,197,147.60
                                                              61 - 90 days                                             204,382.68
                                                             91 - 120 days                                             223,556.48
                                                            Over 120 days                                            1,076,581.15
                                                                  TOTAL:          849,699.90                         1,598,733.24     2,273,180.47

                                                            V. INSURANCE COVERAGE

                                                                Amount of                                       Policy Expiration            Premium Paid
                                          Name of Carrier       Coverage                                              Date                   Through (Date)
                       General Liability See Schedule of Insurance
                 Worker's Compensation
                               Casualty
                                Vehicle
               Others:


                                         VI. UNITED STATES TRUSTEE QUARTERLY FEES
                                                      (TOTAL PAYMENTS)

 Quarterly Period                 Total                                                                                                      Quarterly Fees
  Ending (Date)               Disbursements              Quarterly Fees                  Date Paid                 Amount Paid                Still Owing
     30-Sep-2017                  762,044.40                   4,875.00                   14-Nov-2017                  4,875.00                         0.00 CA

                                                                                                                                                                0.00
                                                                                                                                                                0.00
                                                                                                                                                                0.00
                                                                                                                                                                0.00
                                                                                                                                                                0.00
                                                                                                                                                                0.00
                                                                                                                                                                0.00
                                                                                                                                                                0.00
                                                                                                                                                                0.00
                                                                                                                                                                0.00
                                                                                                                                                                0.00
                                                                                                                                                                0.00
                                                                                                                                                                0.00
                                                                                                                                                                0.00
                                                                                                                                                                0.00
                                                                                                                                                                0.00
                                                                   4,875.00                                                 4,875.00                            0.00

* Post-Petition Accounts Payable SHOULD NOT include professionals' fees and expenses which have been incurred but not yet awarded by the court. Post-Petition
Accounts Payable SHOULD include professionals' fees and expenses authorized by Court Order but which remain unpaid as of the close of the period report

                                                                                   Page 12 of 16
                Case 1:17-bk-12408-MB                           Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48                Desc
                                                                 Main Document    Page 16 of 41

                                       VII SCHEDULE OF COMPENSATION PAID TO INSIDERS

                                                           Date of Order                                             Gross
                                                            Authorizing                                         Compensation Paid
        Name of Insider                                    Compensation       *Authorized Gross Compensation During the Month
Matthew Pliskin                                                     9/25/2017 $18,000 per month plus travel exp        21,518.21
Louis Geoffrey Greulich                                             9/25/2017 $35,000 per month plus travel exp        42,693.48




                                    VIII. SCHEDULE OF OTHER AMOUNTS PAID TO INSIDERS

                                                           Date of Order
                                                            Authorizing                                             Amount Paid
             Name of Insider                               Compensation                              Description   During the Month




* Please indicate how compensation was identified in the order (e.g. $1,000/week, $2,500/month)

                                                                                     Page 13 of 16
                Case 1:17-bk-12408-MB                          Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48               Desc
                                                                Main Document    Page 17 of 41

                                                           IX. PROFIT AND LOSS STATEMENT
                                                                  (ACCRUAL BASIS ONLY)

                                                                               Current Month       Cumulative Post-Petition
Sales/Revenue:
   Gross Sales/Revenue                                                             1,265,014.00              2,805,353.00
   Less: Returns/Discounts                                                           250,742.00                575,002.00
                                                           Net Sales/Revenue       1,014,272.00              2,230,351.00

Cost of Goods Sold:
  Cost of Goods Sold                                                                 683,695.00              1,377,654.39
  Cost of Goods Sold - Freight                                                        38,587.00                 60,650.00

                                            Cost of Goods Sold (COGS)                722,282.00              1,438,304.39

Gross Profit                                                                         291,990.00                792,046.62

    Other Operating Income (Itemize)

Operating Expenses:
  Payroll - Insiders                                                                 112,817.07                159,102.47
  Payroll - Other Employees                                                          489,806.93                743,519.13
  Payroll Taxes                                                                       17,993.00                 28,174.50
  Other Taxes (Itemize)                                                                                              0.00
  Depreciation and Amortization                                                       20,490.00                 34,833.00
  Rent Expense - Real Property                                                         9,052.00                 17,697.00
  Lease Expense - Personal Property                                                                              1,124.90
  Insurance                                                                           10,332.00                 17,215.10
  Real Property Taxes                                                                    500.00                    850.00
  Telephone and Utilities                                                             11,307.00                 18,620.60
  Repairs and Maintenance                                                                  0.00                    879.90
  Travel and Entertainment (Itemize)                                                  36,195.00                 95,331.00
  Miscellaneous Operating Expenses (Itemize)                                         315,936.50                537,798.02
                              Total Operating Expenses                             1,024,429.50              1,655,145.62
                                     Net Gain/(Loss) from Operations                (732,439.50)              (863,099.01)

Non-Operating Income:
  Interest Income                                                                          9.00                     (17.60)
  Net Gain on Sale of Assets (Itemize)                                                                                0.00
  Other (Itemize)
                          Total Non-Operating income                                       9.00                     (17.60)

Non-Operating Expenses:
  Interest Expense                                                                   184,297.00                221,394.90
  Legal and Professional (Itemize)                                                   467,052.57                843,262.35
  Other (Itemize)
                         Total Non-Operating Expenses                                651,349.57              1,064,657.25

NET INCOME/(LOSS)                                                                 (1,383,780.07)             (1,927,773.86)
(Attach exhibit listing all itemizations required above)

                                                                           Page 14 of 16
              Case 1:17-bk-12408-MB                     Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48    Desc
                                                         Main Document    Page 18 of 41

                                             X. BALANCE SHEET
                                            (ACCRUAL BASIS ONLY)


ASSETS                                                           Current Month End
  Current Assets:
  Unrestricted Cash                                                   1,760,927.67
  Restricted Cash
  Accounts Receivable                                                 3,752,349.00
  Inventory                                                           6,305,466.00
  Notes Receivable                                                      359,694.00
  Prepaid Expenses                                                      903,089.53
  Other (Itemize)
                                        Total Current Assets                                13,081,526.20

Property, Plant, and Equipment                                          921,596.00
Accumulated Depreciation/Depletion                                     (530,244.00)
                       Net Property, Plant, and Equipment                                     391,352.00

Other Assets (Net of Amortization):
  Due from Insiders                                                           0.00
  Other (Itemize)                                                       962,586.00
                                          Total Other Assets                                  962,586.00
TOTAL ASSETS                                                                                14,435,464.20

LIABILITIES
Post-petition Liabilities:
  Accounts Payable                                                      849,699.90
  Taxes Payable                                                           7,595.00
  Notes Payable
  Professional fees                                                     840,600.35
  Secured Debt                                                        1,111,380.25
  Other (Itemize)
                               Total Post-petition Liabilities                               2,809,275.50

Pre-petition Liabilities:
   Secured Liabilities                                                3,410,217.39
   Priority Liabilities                                                   2,735.10
   Unsecured Liabilities                                              5,215,546.90
   Other (Itemize)
                                Total Pre-petition Liabilities                               8,628,499.39
TOTAL LIABILITIES                                                                           11,437,774.89

EQUITY:
  Pre-petition Owners’ Equity                                         4,925,463.17
  Post-petition Profit/(Loss)                                        (1,927,773.86)
  Direct Charges to Equity
TOTAL EQUITY                                                                                 2,997,689.31
TOTAL LIABILITIES & EQUITY                                                                  14,435,464.20




      Other Assets
      Trade-X Barter Credits                                            702,860.00
      Deposits and other                                                 37,923.00
      Trademarks, Net                                                   218,803.00
      Organization Costs                                                  3,000.00
                                                                        962,586.00

                                                                            Page 15 of 16
Case 1:17-bk-12408-MB   Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48   Desc
                         Main Document    Page 19 of 41
          Case 1:17-bk-12408-MB                         Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48                    Desc
                                                         Main Document    Page 20 of 41




       IRONCLAD PERFORMANCE WEAR CORPORATION
       OPERATING ACCOUNT                                                          4Contact your Relationship Manager to discuss
                                                                                    targeted solutions for your evolving business needs.
       SUITE 300
       1920 HUTTON CT
       DALLAS TX 75234




ACCOUNT SUMMARY                             FOR PERIOD OCTOBER 01, 2017 - OCTOBER 31, 2017



Previous Balance 09/30/17                              $813,350.62          Number of Days in Cycle                                31
152 Deposits/Credits                                 $1,190,976.70          Minimum Balance This Cycle                    $122,718.90
9 Checks/Debits                                    ($1,735,300.63)          Average Collected Balance                     $907,874.97
Service Charges                                              $0.00
Ending Balance 10/31/17                                $269,026.69

ACCOUNT DETAIL                      FOR PERIOD OCTOBER 01, 2017           - OCTOBER 31, 2017


Date       Description                                                 Deposits/Credits   Withdrawals/Debits          Resulting Balance
10/02      Lockbox deposit                                                  $48,487.21                                       $861,837.83
10/02      ACH deposit COF MERCHNT SET COMB.                                   $419.15                                       $862,256.98
           DEP. 100217 IRONCLAD PERFORMANCE
           7700038769
10/02      ACH deposit HOME DEPOT 0537 EDI                                     $354.54                                       $862,611.52
           PAYMNT 100217 IRONCLAD
           PERFORMANCE W 2000994311
10/02      ACH deposit COF MERCHNT SET COMB.                                   $297.31                                       $862,908.83
           DEP. 100217 IRONCLAD PERFORMANCE
           7700038769
10/02      Foreign Check Collection INTERNATIONAL                              $142.97                                       $863,051.80
           INTERNATL 100217 CAD60010614-00
10/02      ACH deposit SNAP-ON INC       DAILY_STL                               $86.96                                      $863,138.76
           100217 IRONCLAD PERFORMANCE W
           600030512
10/03      Lockbox deposit                                                  $60,193.01                                       $923,331.77
10/03      ACH deposit VALLEN DISTRIBUT EDI                                  $2,687.20                                       $926,018.97
           PYMNTS 100317 0011IRONCLAD
           PERFORM 0000937891




                                                           Thank you for banking with us.                                 PAGE 1 OF 12

Products and services are offered by Capital One, N.A., Member FDIC.
©2017 Capital One. All rights reserved.
  Case 1:17-bk-12408-MB         Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48                 Desc
                                 Main Document    Page 21 of 41



ACCOUNT DETAIL         CONTINUED FOR PERIOD OCTOBER 01, 2017         - OCTOBER 31, 2017
Date    Description                               Deposits/Credits     Withdrawals/Debits       Resulting Balance
10/03   ACH deposit BUNZL DISTRIBUTI CORP                $1,936.26                                       $927,955.23
        PMT 100317 0009IRONCLAD PERFORM
        00725546
10/03   ACH deposit ORGILL INC                            $122.47                                        $928,077.70
        VENDORPYMT 100317 IRONCLAD
        PERFORMANCE 0090405
10/03   ACH deposit HOME DEPOT 0537 EDI                   $115.94                                        $928,193.64
        PAYMNT 100317 IRONCLAD
        PERFORMANCE W 2000192909
10/04   ACH deposit COF MERCHNT SET COMB.                $1,803.71                                       $929,997.35
        DEP. 100417 IRONCLAD PERFORMANCE
        7700038769
10/04   ACH deposit Ariens Company PAYABLES               $522.36                                        $930,519.71
        100417 0000IRONCLAD PERFORM
        20005114
10/04   ACH deposit SNAP-ON INC       DAILY_STL             $86.96                                       $930,606.67
        100417 IRONCLAD PERFORMANCE W
        600030512
10/05   Lockbox deposit                                $35,424.20                                        $966,030.87
10/05   ACH deposit COF MERCHNT SET COMB.              $16,714.51                                        $982,745.38
        DEP. 100517 IRONCLAD PERFORMANCE
        7700038769
10/05   ACH deposit AMAZON.COM943799 EDI               $10,485.46                                        $993,230.84
        PYMNTS 100517 IRONCLAD
        PERFORMANCE W OFA000101431832
10/05   ACH deposit HOME DEPOT 0537 EDI                     $39.51                                       $993,270.35
        PAYMNT 100517 IRONCLAD
        PERFORMANCE W 2001092440
10/06   ACH deposit COF MERCHNT SET COMB.              $10,210.52                                     $1,003,480.87
        DEP. 100617 IRONCLAD PERFORMANCE
        7700038769
10/06   ACH deposit FASTENAL COMPANY                     $3,479.80                                    $1,006,960.67
        DIRECT PAY 100617 IRONCLAD
        PERFORMANCE W 10082444
10/06   Lockbox deposit                                  $3,001.54                                    $1,009,962.21
10/06   ACH deposit AMAZON.COM944633 EDI                 $2,594.54                                    $1,012,556.75
        PYMNTS 100617 IRONCLAD
        PERFORMANCE W OFA000101482179
10/06   ACH deposit BUNZL DISTRIBUTI CORP                 $601.14                                     $1,013,157.89
        PMT 100617 0008IRONCLAD PERFORM
        00726880
10/06   ACH deposit True Value Co PAYMENT                 $499.91                                     $1,013,657.80
        100617 IRONCLAD PERFORMANCE W
        0416180
10/10   Lockbox deposit                               $106,139.26                                     $1,119,797.06
10/10   Wire transfer deposit GLENFIR S A               $9,945.00                                     $1,129,742.06
        101017 USD9869200279HD



                                                                                               PAGE 2 OF 12



                                                                                            PSI: 0 / SHC: 0 / LOB :C
          Case 1:17-bk-12408-MB                         Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48            Desc
                                                         Main Document    Page 22 of 41




 IRONCLAD PERFORMANCE WEAR CORPORATION
 OPERATING ACCOUNT
 SUITE 300

 ACCOUNT DETAIL                      CONTINUED FOR PERIOD OCTOBER 01, 2017                - OCTOBER 31, 2017
 Date        Description                                               Deposits/Credits     Withdrawals/Debits   Resulting Balance
 10/10       ACH deposit COF MERCHNT SET COMB.                                $3,848.34                              $1,133,590.40
             DEP. 101017 IRONCLAD PERFORMANCE
             7700038769
 10/10       ACH deposit COF MERCHNT SET COMB.                                $2,341.39                              $1,135,931.79
             DEP. 101017 IRONCLAD PERFORMANCE
             7700038769
 10/10       ACH deposit True Value Co PAYMENT                                $1,434.24                              $1,137,366.03
             101017 IRONCLAD PERFORMANCE W
             0416530
 10/10       ACH deposit VALLEN DISTRIBUT EDI                                 $1,195.41                              $1,138,561.44
             PYMNTS 101017 0014IRONCLAD
             PERFORM 0000939622
 10/10       ACH deposit ACE HARDWARE                                          $873.66                               $1,139,435.10
             EPOSPYMNTS 101017 IRONCLAD
             PERFORMANCE W ***********8215
 10/10       ACH deposit COF MERCHNT SET COMB.                                 $621.22                               $1,140,056.32
             DEP. 101017 IRONCLAD PERFORMANCE
             7700038769
 10/10       ACH deposit ORGILL INC                                            $520.51                               $1,140,576.83
             VENDORPYMT 101017 IRONCLAD
             PERFORMANCE 0090405
 10/10       ACH deposit SNAP-ON INC      DAILY_STL                            $239.14                               $1,140,815.97
             101017 IRONCLAD PERFORMANCE W
             600030512
 10/10       ACH deposit HOME DEPOT 0537 EDI                                   $148.30                               $1,140,964.27
             PAYMNT 101017 IRONCLAD
             PERFORMANCE W 2000987538
 10/10       ACH deposit HOME DEPOT 0537 EDI                                   $145.69                               $1,141,109.96
             PAYMNT 101017 IRONCLAD
             PERFORMANCE W 2002130727
 10/10       ACH deposit ORGILL INC                                            $113.58                               $1,141,223.54
             VENDORPYMT 101017 IRONCLAD
             PERFORMANCE 0090405
 10/10       Wire transfer deposit DEFSYS SOLUTIONS                            $109.40                               $1,141,332.94
             PRIVATE L 101017 USD************4710
 10/11       Wire transfer deposit SAFAR ONSHORE                            $34,188.04                               $1,175,520.98
             AN D OFFSHORE 101117
             USD************0922
 10/11       ACH deposit BUNZL DISTRIBUTI CORP                                $9,954.84                              $1,185,475.82
             PMT 101117 0007IRONCLAD PERFORM
             00728116




                                                                                                                   PAGE 3 OF 12

Products and services are offered by Capital One, N.A., Member FDIC.
©2017 Capital One. All rights reserved.
  Case 1:17-bk-12408-MB        Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48              Desc
                                Main Document    Page 23 of 41



ACCOUNT DETAIL        CONTINUED FOR PERIOD OCTOBER 01, 2017          - OCTOBER 31, 2017
Date    Description                               Deposits/Credits     Withdrawals/Debits    Resulting Balance
10/11   Wire transfer deposit GLENFIR S A                $9,915.00                               $1,195,390.82
        101117 USD************5338
10/11   ACH deposit VALLEN DISTRIBUT EDI                 $8,668.31                               $1,204,059.13
        PYMNTS 101117 0014IRONCLAD
        PERFORM 0000942709
10/11   ACH deposit ORR SAFETY PAYAB                     $3,963.63                               $1,208,022.76
        PAYABLES 101117 IRONCLAD
        PERFORMANCE W 984745
10/11   ACH deposit True Value Co PAYMENT                $1,848.81                               $1,209,871.57
        101117 IRONCLAD PERFORMANCE W
        0417217
10/11   ACH deposit True Value Co PAYMENT                $1,314.19                               $1,211,185.76
        101117 IRONCLAD PERFORMANCE W
        0416628
10/11   ACH deposit FASTENAL COMPANY                     $1,058.99                               $1,212,244.75
        DIRECT PAY 101117 IRONCLAD
        PERFORMANCE W 10082444
10/11   ACH deposit COF MERCHNT SET COMB.                 $457.49                                $1,212,702.24
        DEP. 101117 IRONCLAD PERFORMANCE
        7700038769
10/11   ACH deposit SNAP-ON INC       DAILY_STL           $217.40                                $1,212,919.64
        101117 IRONCLAD PERFORMANCE W
        600030512
10/11   ACH deposit Ariens Company PAYABLES                 $92.28                               $1,213,011.92
        101117 0000IRONCLAD PERFORM
        20005114
10/11   ACH Withdrawal COF MERCHNT SET                                           $4,915.72       $1,208,096.20
        COMB. EXC. 101117 IRONCLAD
        PERFORMANCE 7700038769
10/11   ACH Withdrawal COF MERCHNT BILL COF                                      $2,031.92       $1,206,064.28
        BILLNG 101117 IRONCLAD
        PERFORMANCE W 0A351P
10/11   ACH Withdrawal COF MERCHNT BILL COF                                         $29.95       $1,206,034.33
        BILLNG 101117 IRONCLAD
        PERFORMANCE W 0A261O
10/12   ACH deposit ULINE INC GENERA CORP                $6,870.24                               $1,212,904.57
        PAY 101217 IRONCLAD PERFORMANCE
        W 488638
10/12   Lockbox deposit                                  $5,107.75                               $1,218,012.32
10/12   ACH deposit COF MERCHNT SET COMB.                $2,194.08                               $1,220,206.40
        DEP. 101217 IRONCLAD PERFORMANCE
        7700038769
10/12   Foreign Check Collection INTERNATIONAL            $482.38                                $1,220,688.78
        INTERNATL 101217 CAD60010630-00
10/12   ACH deposit HD SUPPLY USD - CASH                  $119.25                                $1,220,808.03
        CONC 101217 IRONCLAD PERFORMANCE
        W



                                                                                                 PAGE 4 OF 12
          Case 1:17-bk-12408-MB                         Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48            Desc
                                                         Main Document    Page 24 of 41




 IRONCLAD PERFORMANCE WEAR CORPORATION
 OPERATING ACCOUNT
 SUITE 300

 ACCOUNT DETAIL                      CONTINUED FOR PERIOD OCTOBER 01, 2017                - OCTOBER 31, 2017
 Date        Description                                               Deposits/Credits     Withdrawals/Debits   Resulting Balance
 10/12       ACH deposit FASTENAL COMPANY                                        $27.20                              $1,220,835.23
             DIRECT PAY 101217 IRONCLAD
             PERFORMANCE W 10082444
 10/12       ACH deposit HOME DEPOT 0537 EDI                                     $26.91                              $1,220,862.14
             PAYMNT 101217 IRONCLAD
             PERFORMANCE W 2001017479
 10/12       ACH deposit SEARS HOLDINGS M CORP                                   $11.54                              $1,220,873.68
             PYMNT 101217 0007IRONCLAD PERFORM
             E15897
 10/13       ACH deposit COF MERCHNT SET COMB.                              $19,725.32                               $1,240,599.00
             DEP. 101317 IRONCLAD PERFORMANCE
             7700038769
 10/13       ACH deposit AMAZON.COM948904 EDI                               $16,580.74                               $1,257,179.74
             PYMNTS 101317 IRONCLAD
             PERFORMANCE W OFA000101773340
 10/13       ACH deposit FASTENAL COMPANY                                     $2,354.76                              $1,259,534.50
             DIRECT PAY 101317 IRONCLAD
             PERFORMANCE W 10082444
 10/13       ACH deposit BUNZL DISTRIBUTI CORP                                 $694.52                               $1,260,229.02
             PMT 101317 0008IRONCLAD PERFORM
             00729020
 10/13       ACH deposit True Value Co PAYMENT                                 $172.95                               $1,260,401.97
             101317 IRONCLAD PERFORMANCE W
             0417885
 10/13       ACH deposit FASTENAL COMPANY                                      $116.07                               $1,260,518.04
             DIRECT PAY 101317 IRONCLAD
             PERFORMANCE W 10082444
 10/16       ACH deposit AMAZON.COM949630 EDI                               $61,298.50                               $1,321,816.54
             PYMNTS 101617 IRONCLAD
             PERFORMANCE W OFA000101806755
 10/16       ACH deposit ACE HARDWARE                                         $3,260.58                              $1,325,077.12
             EPOSPYMNTS 101617 IRONCLAD
             PERFORMANCE W ***********0564
 10/16       ACH deposit True Value Co PAYMENT                                $2,645.68                              $1,327,722.80
             101617 IRONCLAD PERFORMANCE W
             0418239
 10/16       ACH deposit COF MERCHNT SET COMB.                                $2,627.76                              $1,330,350.56
             DEP. 101617 IRONCLAD PERFORMANCE
             7700038769
 10/16       ACH deposit ACE HARDWARE                                         $2,148.08                              $1,332,498.64
             EPOSPYMNTS 101617 IRONCLAD
             PERFORMANCE W ***********2695



                                                                                                                   PAGE 5 OF 12

Products and services are offered by Capital One, N.A., Member FDIC.
©2017 Capital One. All rights reserved.
  Case 1:17-bk-12408-MB         Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48             Desc
                                 Main Document    Page 25 of 41



ACCOUNT DETAIL         CONTINUED FOR PERIOD OCTOBER 01, 2017          - OCTOBER 31, 2017
Date    Description                                Deposits/Credits     Withdrawals/Debits   Resulting Balance
10/16   ACH deposit ACE HARDWARE                          $2,058.00                              $1,334,556.64
        EPOSPYMNTS 101617 IRONCLAD
        PERFORMANCE W ***********1841
10/16   ACH deposit HOME DEPOT 0537 EDI                   $1,846.49                              $1,336,403.13
        PAYMNT 101617 IRONCLAD
        PERFORMANCE W 2001697613
10/16   Lockbox deposit                                   $1,602.99                              $1,338,006.12
10/16   ACH deposit VALLEN DISTRIBUT EDI                  $1,497.60                              $1,339,503.72
        PYMNTS 101617 0008IRONCLAD
        PERFORM 0000945029
10/16   ACH deposit VALLEN DISTRIBUT EDI                  $1,497.60                              $1,341,001.32
        PYMNTS 101617 0008IRONCLAD
        PERFORM 0000945029
10/16   ACH deposit AMAZON.COM950419 EDI                   $745.67                               $1,341,746.99
        PYMNTS 101617 IRONCLAD
        PERFORMANCE W OFA000101868551
10/16   ACH deposit SNAP-ON INC        DAILY_STL           $260.88                               $1,342,007.87
        101617 IRONCLAD PERFORMANCE W
        600030512
10/16   ACH deposit ORGILL INC                             $138.58                               $1,342,146.45
        VENDORPYMT 101617 IRONCLAD
        PERFORMANCE 0090405
10/17   Lockbox deposit                                 $70,084.33                               $1,412,230.78
10/17   ACH deposit ULINE INC GENERA CORP                $2,848.32                               $1,415,079.10
        PAY 101717 IRONCLAD PERFORMANCE
        W 490038
10/17   ACH deposit COF MERCHNT SET COMB.                 $2,413.19                              $1,417,492.29
        DEP. 101717 IRONCLAD PERFORMANCE
        7700038769
10/17   ACH deposit ORGILL INC                            $1,037.87                              $1,418,530.16
        VENDORPYMT 101717 IRONCLAD
        PERFORMANCE 0090405
10/17   Foreign Check Collection INTERNATIONAL             $778.89                               $1,419,309.05
        INTERNATL 101717 CAD60010636-00
10/17   Foreign Check Collection INTERNATIONAL             $586.43                               $1,419,895.48
        INTERNATL 101717 CAD60010636-00
10/17   ACH deposit FASTENAL COMPANY                       $310.47                               $1,420,205.95
        DIRECT PAY 101717 IRONCLAD
        PERFORMANCE W 10082444
10/17   Foreign Check Collection INTERNATIONAL             $139.08                               $1,420,345.03
        INTERNATL 101717 CAD60010636-00
10/17   ACH deposit AMAZON.COM950663 EDI                     $19.17                              $1,420,364.20
        PYMNTS 101717 IRONCLAD
        PERFORMANCE W OFA000101886497
10/17   ACH deposit HOME DEPOT 0537 EDI                       $9.64                              $1,420,373.84
        PAYMNT 101717 IRONCLAD
        PERFORMANCE W 2002096785
10/17   Book transfer debit TO ...0575                                         $100,000.00       $1,320,373.84

                                                                                                 PAGE 6 OF 12
          Case 1:17-bk-12408-MB                         Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48             Desc
                                                         Main Document    Page 26 of 41




 IRONCLAD PERFORMANCE WEAR CORPORATION
 OPERATING ACCOUNT
 SUITE 300

 ACCOUNT DETAIL                      CONTINUED FOR PERIOD OCTOBER 01, 2017                - OCTOBER 31, 2017
 Date        Description                                               Deposits/Credits     Withdrawals/Debits    Resulting Balance
 10/18       Lockbox deposit                                                $43,216.86                                $1,363,590.70
 10/18       Wire transfer deposit DISTRIBUTION NOW                         $10,256.99                                $1,373,847.69
             FZE 101817 USD291355823
 10/18       ACH deposit COF MERCHNT SET COMB.                                $3,563.29                               $1,377,410.98
             DEP. 101817 IRONCLAD PERFORMANCE
             7700038769
 10/18       ACH deposit AMAZON.COM951289 EDI                                 $1,474.30                               $1,378,885.28
             PYMNTS 101817 IRONCLAD
             PERFORMANCE W OFA000101925344
 10/18       ACH deposit FASTENAL COMPANY                                      $493.92                                $1,379,379.20
             DIRECT PAY 101817 IRONCLAD
             PERFORMANCE W 10082444
 10/18       ACH deposit Ariens Company PAYABLES                               $288.36                                $1,379,667.56
             101817 0000IRONCLAD PERFORM
             20005114
 10/18       ACH deposit SNAP-ON INC       DAILY_STL                             $21.74                               $1,379,689.30
             101817 IRONCLAD PERFORMANCE W
             600030512
 10/19       Lockbox deposit                                                $15,021.86                                $1,394,711.16
 10/19       ACH deposit AMAZON.COM951921 EDI                                $4,394.60                                $1,399,105.76
             PYMNTS 101917 IRONCLAD
             PERFORMANCE W OFA000101989839
 10/19       ACH deposit COF MERCHNT SET COMB.                                $1,850.68                               $1,400,956.44
             DEP. 101917 IRONCLAD PERFORMANCE
             7700038769
 10/19       ACH deposit True Value Co PAYMENT                                $1,502.68                               $1,402,459.12
             101917 IRONCLAD PERFORMANCE W
             0419227
 10/19       ACH deposit VALLEN DISTRIBUT EDI                                  $493.44                                $1,402,952.56
             PYMNTS 101917 0007IRONCLAD
             PERFORM 694738
 10/19       Foreign Check Collection INTERNATIONAL                            $366.74                                $1,403,319.30
             INTERNATL 101917 CAD60010641-00
 10/19       ACH deposit HOME DEPOT 0537 EDI                                   $112.16                                $1,403,431.46
             PAYMNT 101917 IRONCLAD
             PERFORMANCE W 2000118675
 10/19       ACH Withdrawal VALLEN DISTRIBUT                                                          $1,497.60       $1,401,933.86
             REVERSAL 101917 0000IRONCLAD
             PERFORM 0000945029
 10/20       ACH deposit COF MERCHNT SET COMB.                                 $865.97                                $1,402,799.83
             DEP. 102017 IRONCLAD PERFORMANCE
             7700038769


                                                                                                                    PAGE 7 OF 12

Products and services are offered by Capital One, N.A., Member FDIC.
©2017 Capital One. All rights reserved.
  Case 1:17-bk-12408-MB         Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48             Desc
                                 Main Document    Page 27 of 41



ACCOUNT DETAIL         CONTINUED FOR PERIOD OCTOBER 01, 2017          - OCTOBER 31, 2017
Date    Description                                Deposits/Credits     Withdrawals/Debits   Resulting Balance
10/20   ACH deposit AMAZON.COM952648 EDI                   $232.24                               $1,403,032.07
        PYMNTS 102017 IRONCLAD
        PERFORMANCE W OFA000102029952
10/23   Lockbox deposit                                 $81,119.88                               $1,484,151.95
10/23   ACH deposit COF MERCHNT SET COMB.               $23,065.66                               $1,507,217.61
        DEP. 102317 IRONCLAD PERFORMANCE
        7700038769
10/23   ACH deposit ACE HARDWARE                          $6,482.46                              $1,513,700.07
        EPOSPYMNTS 102317 IRONCLAD
        PERFORMANCE W ***********7120
10/23   ACH deposit ACE HARDWARE                          $1,098.50                              $1,514,798.57
        EPOSPYMNTS 102317 IRONCLAD
        PERFORMANCE W ***********5527
10/23   ACH deposit FASTENAL COMPANY                       $357.50                               $1,515,156.07
        DIRECT PAY 102317 IRONCLAD
        PERFORMANCE W 10082444
10/23   ACH deposit HOME DEPOT 0537 EDI                    $314.31                               $1,515,470.38
        PAYMNT 102317 IRONCLAD
        PERFORMANCE W 2001532670
10/23   ACH deposit VALLEN DISTRIBUT EDI                   $225.12                               $1,515,695.50
        PYMNTS 102317 0012IRONCLAD
        PERFORM 0000946769
10/23   ACH deposit VALLEN DISTRIBUT EDI                   $145.00                               $1,515,840.50
        PYMNTS 102317 0006IRONCLAD
        PERFORM 695065
10/23   ACH deposit SNAP-ON INC        DAILY_STL           $130.44                               $1,515,970.94
        102317 IRONCLAD PERFORMANCE W
        600030512
10/23   ACH deposit COF MERCHNT SET COMB.                    $36.80                              $1,516,007.74
        DEP. 102317 IRONCLAD PERFORMANCE
        7700038769
10/23   Book transfer debit TO ...0575                                         $125,000.00       $1,391,007.74
10/24   Lockbox deposit                                 $55,558.20                               $1,446,565.94
10/24   ACH deposit AMAZON.COM954272 EDI                $33,400.92                               $1,479,966.86
        PYMNTS 102417 IRONCLAD
        PERFORMANCE W OFA000102815773
10/24   ACH deposit ULINE INC GENERA CORP                 $5,987.52                              $1,485,954.38
        PAY 102417 IRONCLAD PERFORMANCE
        W 493249
10/24   ACH deposit ORGILL INC                             $890.48                               $1,486,844.86
        VENDORPYMT 102417 IRONCLAD
        PERFORMANCE 0090405
10/24   ACH deposit HOME DEPOT 0537 EDI                    $340.09                               $1,487,184.95
        PAYMNT 102417 IRONCLAD
        PERFORMANCE W 2002073031
10/24   Wire transfer deposit TOP MARINE CO LT             $300.82                               $1,487,485.77
        D 102417 USD6013700297FI


                                                                                                 PAGE 8 OF 12
          Case 1:17-bk-12408-MB                         Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48             Desc
                                                         Main Document    Page 28 of 41




 IRONCLAD PERFORMANCE WEAR CORPORATION
 OPERATING ACCOUNT
 SUITE 300

 ACCOUNT DETAIL                      CONTINUED FOR PERIOD OCTOBER 01, 2017                - OCTOBER 31, 2017
 Date        Description                                               Deposits/Credits     Withdrawals/Debits    Resulting Balance
 10/24       Analysis service charge debit ANALYSIS                                                   $1,825.44       $1,485,660.33
             CHRG
 10/25       Lockbox deposit                                                $77,408.72                                $1,563,069.05
 10/25       ACH deposit True Value Co PAYMENT                               $1,353.19                                $1,564,422.24
             102517 IRONCLAD PERFORMANCE W
             0420587
 10/25       ACH deposit COF MERCHNT SET COMB.                                 $983.84                                $1,565,406.08
             DEP. 102517 IRONCLAD PERFORMANCE
             7700038769
 10/25       ACH deposit Ariens Company PAYABLES                               $166.08                                $1,565,572.16
             102517 0000IRONCLAD PERFORM
             20005114
 10/25       ACH deposit ACE HARDWARE                                            $15.01                               $1,565,587.17
             EPOSPYMNTS 102517 IRONCLAD
             PERFORMANCE W ***********9593
 10/25       Book transfer debit TO ...3806                                                       $1,400,000.00        $165,587.17
 10/26       ACH deposit ULINE INC GENERA CORP                              $20,001.18                                 $185,588.35
             PAY 102617 IRONCLAD PERFORMANCE
             W 493953
 10/26       ACH deposit AMAZON.COM955762 EDI                                 $6,504.71                                $192,093.06
             PYMNTS 102617 IRONCLAD
             PERFORMANCE W OFA000102934199
 10/26       Lockbox deposit                                                  $2,428.48                                $194,521.54
 10/26       ACH deposit VALLEN DISTRIBUT EDI                                 $2,086.68                                $196,608.22
             PYMNTS 102617 0013IRONCLAD
             PERFORM 0000949569
 10/26       ACH deposit VALLEN DISTRIBUT EDI                                 $1,521.44                                $198,129.66
             PYMNTS 102617 0007IRONCLAD
             PERFORM 696192
 10/26       ACH deposit COF MERCHNT SET COMB.                                 $486.65                                 $198,616.31
             DEP. 102617 IRONCLAD PERFORMANCE
             7700038769
 10/26       ACH deposit HOME DEPOT 0537 EDI                                   $269.66                                 $198,885.97
             PAYMNT 102617 IRONCLAD
             PERFORMANCE W 2002255391
 10/27       Lockbox deposit                                                $12,297.30                                 $211,183.27
 10/27       ACH deposit COF MERCHNT SET COMB.                               $8,888.43                                 $220,071.70
             DEP. 102717 IRONCLAD PERFORMANCE
             7700038769
 10/27       ACH deposit AMAZON.COM956619 EDI                                 $2,647.20                                $222,718.90
             PYMNTS 102717 IRONCLAD
             PERFORMANCE W OFA000103027223


                                                                                                                    PAGE 9 OF 12

Products and services are offered by Capital One, N.A., Member FDIC.
©2017 Capital One. All rights reserved.
  Case 1:17-bk-12408-MB         Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48              Desc
                                 Main Document    Page 29 of 41



ACCOUNT DETAIL         CONTINUED FOR PERIOD OCTOBER 01, 2017           - OCTOBER 31, 2017
Date    Description                                 Deposits/Credits     Withdrawals/Debits   Resulting Balance
10/27   Book transfer debit TO ...0575                                          $100,000.00        $122,718.90
10/30   Wire transfer deposit GXE SOLUTIONS LI           $21,052.62                                $143,771.52
        MITED 103017 USD033DBFC173031359
10/30   Lockbox deposit                                  $20,740.11                                $164,511.63
10/30   ACH deposit AMAZON.COM957289 EDI                 $18,942.90                                $183,454.53
        PYMNTS 103017 IRONCLAD
        PERFORMANCE W OFA000103067257
10/30   ACH deposit ACE HARDWARE                           $4,312.18                               $187,766.71
        EPOSPYMNTS 103017 IRONCLAD
        PERFORMANCE W ***********2407
10/30   ACH deposit COF MERCHNT SET COMB.                  $3,632.67                               $191,399.38
        DEP. 103017 IRONCLAD PERFORMANCE
        7700038769
10/30   ACH deposit COF MERCHNT SET COMB.                  $2,185.40                               $193,584.78
        DEP. 103017 IRONCLAD PERFORMANCE
        7700038769
10/30   ACH deposit ACE HARDWARE                           $2,101.67                               $195,686.45
        EPOSPYMNTS 103017 IRONCLAD
        PERFORMANCE W ***********3275
10/30   ACH deposit HD SUPPLY USD - CASH                    $411.60                                $196,098.05
        CONC 103017 IRONCLAD PERFORMANCE
        W
10/30   ACH deposit HOME DEPOT 0537 EDI                     $106.32                                $196,204.37
        PAYMNT 103017 IRONCLAD
        PERFORMANCE W 2000193625
10/30   ACH deposit COF MERCHNT SET COMB.                     $98.89                               $196,303.26
        DEP. 103017 IRONCLAD PERFORMANCE
        7700038769
10/30   ACH deposit SNAP-ON INC         DAILY_STL             $14.48                               $196,317.74
        103017 IRONCLAD PERFORMANCE W
        600030512
10/31   Lockbox deposit                                  $62,815.00                                $259,132.74
10/31   Wire transfer deposit 5.11 INC 103117             $2,711.66                                $261,844.40
        USD************8413
10/31   ACH deposit AMAZON.COM958328 EDI                   $2,317.47                               $264,161.87
        PYMNTS 103117 IRONCLAD
        PERFORMANCE W OFA000103167094
10/31   ACH deposit FASTENAL COMPANY                       $1,513.74                               $265,675.61
        DIRECT PAY 103117 IRONCLAD
        PERFORMANCE W 10082444
10/31   ACH deposit ORGILL INC                             $1,469.29                               $267,144.90
        VENDORPYMT 103117 IRONCLAD
        PERFORMANCE 0090405
10/31   ACH deposit Dak Rig         AP 103117               $998.40                                $268,143.30
        IRONCLAD PERFORMANCE W 000075234
10/31   ACH deposit COF MERCHNT SET COMB.                   $645.00                                $268,788.30
        DEP. 103117 IRONCLAD PERFORMANCE
        7700038769

                                                                                                 PAGE 10 OF 12
          Case 1:17-bk-12408-MB                         Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48             Desc
                                                         Main Document    Page 30 of 41




 IRONCLAD PERFORMANCE WEAR CORPORATION
 OPERATING ACCOUNT
 SUITE 300

 ACCOUNT DETAIL                      CONTINUED FOR PERIOD OCTOBER 01, 2017                - OCTOBER 31, 2017
 Date        Description                                               Deposits/Credits     Withdrawals/Debits    Resulting Balance
 10/31       ACH deposit HOME DEPOT 0537 EDI                                   $238.39                                 $269,026.69
             PAYMNT 103117 IRONCLAD
             PERFORMANCE W 2001728206
 Total                                                                   $1,190,976.70            $1,735,300.63




                                                                                                                   PAGE 11 OF 12

Products and services are offered by Capital One, N.A., Member FDIC.
©2017 Capital One. All rights reserved.
Case 1:17-bk-12408-MB   Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48   Desc
                         Main Document    Page 31 of 41




                                                                            PAGE 12 OF 12
          Case 1:17-bk-12408-MB                         Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48                    Desc
                                                         Main Document    Page 32 of 41




       IRONCLAD PERFORMANCE WEAR CORPORATION
       DISBURSEMENT ACCOUNT                                                       4Contact your Relationship Manager to discuss
                                                                                    targeted solutions for your evolving business needs.
       1920 HUTTON CT
       SUITE 300
       DALLAS TX 75234-9017




ACCOUNT SUMMARY                             FOR PERIOD OCTOBER 01, 2017 - OCTOBER 31, 2017



Previous Balance 09/30/17                               $87,647.06          Number of Days in Cycle                                31
5 Deposits/Credits                                   $1,124,000.00          Minimum Balance This Cycle                     $61,797.53
150 Checks/Debits                                  ($1,149,849.53)          Average Collected Balance                     $247,495.92
Service Charges                                              $0.00
Ending Balance 10/31/17                                 $61,797.53

ACCOUNT DETAIL                      FOR PERIOD OCTOBER 01, 2017           - OCTOBER 31, 2017


Date       Description                                                 Deposits/Credits   Withdrawals/Debits          Resulting Balance
10/02      Wire transfer deposit RADIANS                                   $600,000.00                                       $687,647.06
           WAREHAM HOLDING IN 100217
           USD************1598
10/02      Wire transfer withdrawal WONEEL                                                           $18,780.84              $668,866.22
           AMERICA I NC 100217 USD0002325991
10/02      Check      5569                                                                           $17,500.00              $651,366.22
10/02      Check      5571                                                                            $9,000.00              $642,366.22
10/02      Check      5568                                                                            $8,750.00              $633,616.22
10/02      Check      5570                                                                            $4,500.00              $629,116.22
10/02      Check      5576                                                                              $800.00              $628,316.22
10/02      Check      5546                                                                              $433.54              $627,882.68
10/02      Check      5581                                                                               $81.68              $627,801.00
10/02      Check      5580                                                                               $37.50              $627,763.50
10/02      ACH withdrawal YRC NATIONAL                                                                  $194.33              $627,569.17
           EPAYMENTS 100217 IRONCLAD
           PERFORMANCE W           143QJMPN56
10/03      International Wire Transfer Dr                                                            $19,572.37              $607,996.80
           PERFORMANCE PPE (INTERNATI 100317
           USD0002331971



                                                           Thank you for banking with us.                                   PAGE 1 OF 8

Products and services are offered by Capital One, N.A., Member FDIC.
©2017 Capital One. All rights reserved.
  Case 1:17-bk-12408-MB        Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48                   Desc
                                Main Document    Page 33 of 41



ACCOUNT DETAIL         CONTINUED FOR PERIOD OCTOBER 01, 2017         - OCTOBER 31, 2017
Date    Description                               Deposits/Credits     Withdrawals/Debits        Resulting Balance
10/03   Wire transfer withdrawal CHARLES                                         $8,185.90                $599,810.90
        SCHWAB B ANK 100317 USD0002331875
10/03   ACH Withdrawal US CBP           PAYMENT                                    $921.94                $598,888.96
        100317 IRONCLAD PERFORMANCE 0000
10/03   ACH Withdrawal YRC NATIONAL                                                $609.89                $598,279.07
        EPAYMENTS 100317 IRONCLAD
        PERFORMANCE W           143QJOT2AM
10/03   ACH Withdrawal YRC NATIONAL                                                $250.56                $598,028.51
        EPAYMENTS 100317 IRONCLAD
        PERFORMANCE W           143QJOK0Q8
10/04   Wire transfer withdrawal ADVANTAGE                                      $40,182.75                $557,845.76
        MEDIA SERVICES 100417
        USD0002335254
10/04   Check      5579                                                          $2,814.50                $555,031.26
10/04   Check      5578                                                          $2,677.86                $552,353.40
10/04   Check      5585                                                          $1,998.01                $550,355.39
10/05   Check      5573                                                          $7,192.75                $543,162.64
10/05   Check      5582                                                            $945.00                $542,217.64
10/05   Check      5584                                                            $364.80                $541,852.84
10/05   Check      5577                                                            $116.75                $541,736.09
10/05   ACH withdrawal US CBP           PAYMENT                                  $5,600.22                $536,135.87
        100517 IRONCLAD PERFORMANCE 0000
10/06   International Wire Transfer Dr AML                                       $4,259.52                $531,876.35
        UNITED LIMIT ED 100617
        USD0002349705
10/06   International Wire Transfer Dr PT SEOK                                  $57,933.00                $473,943.35
        HWA INDO NESIA 100617
        USD0002349594
10/06   Wire transfer withdrawal CHARLES                                           $682.60                $473,260.75
        SCHWAB B ANK 100617 USD0002348095
10/06   Check      5592                                                            $150.00                $473,110.75
10/06   Check      5575                                                             $51.98                $473,058.77
10/10   International Wire Transfer Dr CHANG                                     $7,969.36                $465,089.41
        BANG GLOVE S(HONG KON 101017
        USD0002349436
10/10   International Wire Transfer Dr PT                                       $45,834.15                $419,255.26
        MERCINDO GLOB AL MANUIFA 101017
        USD0002360427
10/10   Check      5597                                                          $2,000.00                $417,255.26
10/10   Check      5599                                                          $2,000.00                $415,255.26
10/10   Check      5537                                                          $1,756.85                $413,498.41
10/10   Check      5598                                                          $1,100.00                $412,398.41
10/10   Check      5593                                                            $951.73                $411,446.68
10/10   Check      5595                                                            $800.00                $410,646.68
10/10   Check      5564                                                            $760.93                $409,885.75
10/10   Check      5553                                                            $150.00                $409,735.75
10/10   Check      5565                                                             $29.55                $409,706.20

                                                                                                  PAGE 2 OF 8



                                                                                             PSI: 1 / SHC: 0 / LOB :C
          Case 1:17-bk-12408-MB                         Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48             Desc
                                                         Main Document    Page 34 of 41




 IRONCLAD PERFORMANCE WEAR CORPORATION
 DISBURSEMENT ACCOUNT

 ACCOUNT DETAIL                      CONTINUED FOR PERIOD OCTOBER 01, 2017                - OCTOBER 31, 2017
 Date        Description                                               Deposits/Credits     Withdrawals/Debits    Resulting Balance
 10/11       International Wire Transfer Dr TRINET                                                    $4,057.96        $405,648.24
             EMPLOYER GROUP CANA 101117
             CAD0002361263
 10/11       International Wire Transfer Dr PPE                                                      $14,647.52        $391,000.72
             101117 GBP0002367802
 10/11       Wire transfer withdrawal ADVANTAGE                                                       $9,250.00        $381,750.72
             MEDIA SERVICES 101117
             USD0002366479
 10/11       Wire transfer withdrawal TRINET HR III,IN                                             $114,671.84         $267,078.88
             C 101117 USD0002366537
 10/11       ACH Withdrawal US CBP           PAYMENT                                                  $2,990.99        $264,087.89
             101117 IRONCLAD PERFORMANCE 0000
 10/11       Check      5554                                                                            $150.00        $263,937.89
 10/12       Check      5572                                                                          $6,270.51        $257,667.38
 10/13       International Wire Transfer Dr ZHANG                                                     $1,487.86        $256,179.52
             JUNWEI 101317 USD0002375854
 10/13       International Wire Transfer Dr ZHENG                                                     $2,190.19        $253,989.33
             JIANQIAO 101317 USD0002375872
 10/13       International Wire Transfer Dr CHANG                                                    $37,405.12        $216,584.21
             BANG GLOVE S(HONG KON 101317
             USD0002380898
 10/13       Wire transfer withdrawal WONEEL                                                         $21,559.78        $195,024.43
             AMERICA I NC 101317 USD0002380926
 10/13       ACH Withdrawal AMEX EPAYMENT ACH                                                        $46,904.44        $148,119.99
             PMT 101317 WILLIAM AISENBERG
             R0674
 10/13       ACH Withdrawal US CBP           PAYMENT                                                  $1,966.33        $146,153.66
             101317 IRONCLAD PERFORMANCE 0000
 10/13       ACH Withdrawal YRC NATIONAL                                                              $1,839.85        $144,313.81
             EPAYMENTS 101317 IRONCLAD
             PERFORMANCE W           143QJUXIEN
 10/13       Check      5602                                                                         $12,518.21        $131,795.60
 10/13       Check      5615                                                                          $3,536.56        $128,259.04
 10/13       Check      5637                                                                            $845.00        $127,414.04
 10/13       Check      5594                                                                            $105.87        $127,308.17
 10/13       Check      5616                                                                            $101.00        $127,207.17
 10/13       Check      5618                                                                            $100.00        $127,107.17
 10/13       Check      5642                                                                            $100.00        $127,007.17
 10/13       Check      5614                                                                            $100.00        $126,907.17
 10/16       ACH Withdrawal US CBP           PAYMENT                                                 $11,171.67        $115,735.50
             101617 IRONCLAD PERFORMANCE 0000
 10/16       ACH Withdrawal US CBP           PAYMENT                                                  $4,106.07        $111,629.43
             101617 IRONCLAD PERFORMANCE 0000


                                                                                                                     PAGE 3 OF 8

Products and services are offered by Capital One, N.A., Member FDIC.
©2017 Capital One. All rights reserved.
  Case 1:17-bk-12408-MB        Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48              Desc
                                Main Document    Page 35 of 41



ACCOUNT DETAIL         CONTINUED FOR PERIOD OCTOBER 01, 2017         - OCTOBER 31, 2017
Date    Description                               Deposits/Credits     Withdrawals/Debits    Resulting Balance
10/16   ACH Withdrawal YRC NATIONAL                                              $1,122.52        $110,506.91
        EPAYMENTS 101617 IRONCLAD
        PERFORMANCE W           143QJVJ1F2
10/16   Check      5600                                                          $7,589.04        $102,917.87
10/16   Check      5630                                                          $2,048.47        $100,869.40
10/16   Check      5632                                                            $646.35        $100,223.05
10/16   Check      5638                                                            $100.00        $100,123.05
10/16   Check      5610                                                            $100.00        $100,023.05
10/16   Check      5606                                                            $100.00         $99,923.05
10/17   Book transfer credit FROM ...0567             $100,000.00                                 $199,923.05
10/17   ACH Withdrawal US CBP           PAYMENT                                  $1,520.99        $198,402.06
        101717 IRONCLAD PERFORMANCE 0000
10/17   ACH Withdrawal YRC NATIONAL                                                $458.52        $197,943.54
        EPAYMENTS 101717 IRONCLAD
        PERFORMANCE W           143QJX0RWS
10/17   Check      5646                                                          $1,501.71        $196,441.83
10/17   Check      5626                                                            $824.07        $195,617.76
10/17   Check      5633                                                            $471.39        $195,146.37
10/17   Check      5645                                                            $150.00        $194,996.37
10/17   Check      5640                                                            $150.00        $194,846.37
10/17   Check      5623                                                            $150.00        $194,696.37
10/18   Wire transfer withdrawal ADVANTAGE                                       $9,250.00        $185,446.37
        MEDIA SERVICES 101817
        USD0002384856
10/18   ACH Withdrawal YRC NATIONAL                                                $358.51        $185,087.86
        EPAYMENTS 101817 IRONCLAD
        PERFORMANCE W           143QJXJVQJ
10/18   Check      5603                                                         $10,524.73        $174,563.13
10/18   Check      5643                                                          $3,511.95        $171,051.18
10/18   Check      5617                                                            $653.88        $170,397.30
10/18   Check      5608                                                            $246.08        $170,151.22
10/18   Check      5644                                                            $145.45        $170,005.77
10/18   Check      5621                                                            $137.23        $169,868.54
10/19   International Wire Transfer Dr SHANGHAI                                  $7,622.28        $162,246.26
        KEYMEN HR SERVICE 101917
        USD0002405083
10/19   Wire transfer withdrawal ADVANTAGE                                       $7,282.20        $154,964.06
        MEDIA SERVICES 101917
        USD0002404531
10/19   Check      5604                                                         $24,125.38        $130,838.68
10/19   Check      5601                                                         $17,500.00        $113,338.68
10/19   Check      5613                                                          $3,204.20        $110,134.48
10/19   Check      5639                                                          $1,321.24        $108,813.24
10/19   Check      5647                                                            $686.00        $108,127.24
10/19   Check      5625                                                            $412.51        $107,714.73
10/19   Check      5629                                                            $345.08        $107,369.65
10/20   Check      5624                                                            $100.00        $107,269.65
                                                                                                  PAGE 4 OF 8
          Case 1:17-bk-12408-MB                         Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48             Desc
                                                         Main Document    Page 36 of 41




 IRONCLAD PERFORMANCE WEAR CORPORATION
 DISBURSEMENT ACCOUNT

 ACCOUNT DETAIL                      CONTINUED FOR PERIOD OCTOBER 01, 2017                - OCTOBER 31, 2017
 Date        Description                                               Deposits/Credits     Withdrawals/Debits    Resulting Balance
 10/20       Check      5627                                                                             $53.67        $107,215.98
 10/20       Check      5607                                                                             $51.98        $107,164.00
 10/23       Book transfer credit FROM ...0567                             $125,000.00                                 $232,164.00
 10/23       ACH Withdrawal AMEX EPAYMENT ACH                                                        $20,000.00        $212,164.00
             PMT 102317 WILLIAM AISENBERG
             R9748
 10/23       ACH Withdrawal US CBP            PAYMENT                                                 $9,352.72        $202,811.28
             102317 IRONCLAD PERFORMANCE 0000
 10/23       ACH Withdrawal US CBP            PAYMENT                                                 $2,376.60        $200,434.68
             102317 IRONCLAD PERFORMANCE 0000
 10/23       ACH Withdrawal US CBP            PAYMENT                                                   $533.69        $199,900.99
             102317 IRONCLAD PERFORMANCE 0000
 10/23       Check      5620                                                                          $3,012.33        $196,888.66
 10/23       Check      5653                                                                            $950.00        $195,938.66
 10/23       Check      5635                                                                            $836.77        $195,101.89
 10/23       Check      5619                                                                            $150.00        $194,951.89
 10/23       Check      5628                                                                            $105.03        $194,846.86
 10/23       Check      5636                                                                             $52.67        $194,794.19
 10/23       Check      5655                                                                              $5.33        $194,788.86
 10/24       International Wire Transfer Dr CHANG                                                     $6,436.88        $188,351.98
             BANG GLOVE S(HONG KON 102417
             USD0002416137
 10/24       International Wire Transfer Dr IRONCLAD                                                 $25,000.00        $163,351.98
             PERFORM ANCE WEAR 102417
             USD0002416158
 10/24       Wire transfer withdrawal HOMELAND                                                       $11,781.49        $151,570.49
             SECURIT Y - CUSTOM 102417
             USD0002418534
 10/24       ACH Withdrawal US CBP            PAYMENT                                                 $3,171.23        $148,399.26
             102417 IRONCLAD PERFORMANCE 0000
 10/24       ACH Withdrawal YRC NATIONAL                                                                $666.59        $147,732.67
             EPAYMENTS 102417 IRONCLAD
             PERFORMANCE W           143QK1AT8H
 10/24       ACH Withdrawal YRC NATIONAL                                                                $655.14        $147,077.53
             EPAYMENTS 102417 IRONCLAD
             PERFORMANCE W           143QJZIZTU
 10/24       Check      5656                                                                            $498.80        $146,578.73
 10/25       Book transfer credit FROM ...3806                             $199,000.00                                 $345,578.73
 10/25       International Wire Transfer Dr TRINET                                                    $3,952.95        $341,625.78
             EMPLOYER GROUP CANA 102517
             CAD0002428170




                                                                                                                     PAGE 5 OF 8

Products and services are offered by Capital One, N.A., Member FDIC.
©2017 Capital One. All rights reserved.
  Case 1:17-bk-12408-MB         Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48               Desc
                                 Main Document    Page 37 of 41



ACCOUNT DETAIL         CONTINUED FOR PERIOD OCTOBER 01, 2017           - OCTOBER 31, 2017
Date    Description                                 Deposits/Credits     Withdrawals/Debits    Resulting Balance
10/25   International Wire Transfer Dr PT                                         $31,372.70        $310,253.08
        MERCINDO GLOB AL MANUIFA 102517
        USD0002425969
10/25   Wire transfer withdrawal ADVANTAGE                                         $9,250.00        $301,003.08
        MEDIA SERVICES 102517
        USD0002428305
10/25   Wire transfer withdrawal TRINET HR III,IN                               $101,448.68         $199,554.40
        C 102517 USD0002428222
10/25   Check      5658                                                            $1,479.04        $198,075.36
10/25   Check      5654                                                               $70.00        $198,005.36
10/26   Wire transfer withdrawal CHARLES                                          $16,644.85        $181,360.51
        SCHWAB B ANK 102617 USD0002434244
10/26   Wire transfer withdrawal TRINET HR III,IN                                 $33,492.47        $147,868.04
        C 102617 USD0002434112
10/26   ACH Withdrawal FEDERAL EXPRESS                                               $882.24        $146,985.80
        DEBIT 102617 IRONCLAD PERFORMANCE
        W MMA25982200
10/26   Check      5574                                                           $10,637.78        $136,348.02
10/26   Check      5652                                                            $2,163.27        $134,184.75
10/26   Check      5641                                                            $1,768.09        $132,416.66
10/26   Check      5651                                                            $1,301.51        $131,115.15
10/27   Book transfer credit FROM ...0567               $100,000.00                                 $231,115.15
10/27   International Wire Transfer Dr CHANG                                      $70,151.50        $160,963.65
        BANG GLOVE S(HONG KON 102717
        USD0002439038
10/27   Wire transfer withdrawal WONEEL                                           $20,408.98        $140,554.67
        AMERICA I NC 102717 USD0002439060
10/27   ACH Withdrawal FEDERAL EXPRESS                                             $3,551.39        $137,003.28
        DEBIT 102717 IRONCLAD PERFORMANCE
        W MMA25996943
10/27   ACH Withdrawal YRC NATIONAL                                                  $910.46        $136,092.82
        EPAYMENTS 102717 IRONCLAD
        PERFORMANCE W           143QK2OK0F
10/27   ACH Withdrawal US CBP           PAYMENT                                      $439.06        $135,653.76
        102717 IRONCLAD PERFORMANCE 0000
10/27   Check      5657                                                           $16,382.45        $119,271.31
10/27   Check      5648                                                            $2,500.00        $116,771.31
10/27   Check      5612                                                            $1,521.30        $115,250.01
10/30   ACH Withdrawal YRC NATIONAL                                                  $244.77        $115,005.24
        EPAYMENTS 103017 IRONCLAD
        PERFORMANCE W           143QK3G6IY
10/30   ACH Withdrawal FEDERAL EXPRESS                                                $56.13        $114,949.11
        DEBIT 103017 IRONCLAD PERFORMANCE
        W MMA26011450
10/30   Check      5661                                                            $9,000.00        $105,949.11
10/30   Check      5668                                                              $830.00        $105,119.11
10/30   Check      5664                                                              $441.22        $104,677.89

                                                                                                    PAGE 6 OF 8
          Case 1:17-bk-12408-MB                         Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48                     Desc
                                                         Main Document    Page 38 of 41




 IRONCLAD PERFORMANCE WEAR CORPORATION
 DISBURSEMENT ACCOUNT

 ACCOUNT DETAIL                      CONTINUED FOR PERIOD OCTOBER 01, 2017                     - OCTOBER 31, 2017
 Date        Description                                                  Deposits/Credits       Withdrawals/Debits       Resulting Balance
 10/30       Check    5659                                                                                   $7,693.48           $96,984.41
 10/31       ACH Withdrawal US CBP     PAYMENT                                                               $9,577.00           $87,407.41
             103117 IRONCLAD PERFORMANCE 0000
 10/31       ACH Withdrawal FEDERAL EXPRESS                                                                   $268.13            $87,139.28
             DEBIT 103117 IRONCLAD PERFORMANCE
             W MMA26041481
 10/31       Check    5665                                                                                  $17,500.00           $69,639.28
 10/31       Check    5649                                                                                   $7,192.75           $62,446.53
 10/31       Check    5663                                                                                     $533.40           $61,913.13
 10/31       Check    5631                                                                                     $115.60           $61,797.53
 Total                                                                         $1,124,000.00           $1,149,849.53



             * designates gap in check sequence
 Check No.         Date                    Amount         Check No.    Date             Amount      Check No.     Date             Amount
 5537              10/10                $1,756.85          5593        10/10            $951.73     5621          10/18           $137.23
 5546*             10/02                  $433.54          5594        10/13            $105.87     5623*         10/17           $150.00
 5553*             10/10                  $150.00          5595        10/10            $800.00     5624          10/20           $100.00
 5554              10/11                  $150.00          5597*       10/10          $2,000.00     5625          10/19           $412.51
 5564*             10/10                  $760.93          5598        10/10          $1,100.00     5626          10/17           $824.07
 5565              10/10                   $29.55          5599        10/10          $2,000.00     5627          10/20            $53.67
 5568*             10/02                $8,750.00          5600        10/16          $7,589.04     5628          10/23           $105.03
 5569              10/02               $17,500.00          5601        10/19         $17,500.00     5629          10/19           $345.08
 5570              10/02                $4,500.00          5602        10/13         $12,518.21     5630          10/16         $2,048.47
 5571              10/02                $9,000.00          5603        10/18         $10,524.73     5631          10/31           $115.60
 5572              10/12                $6,270.51          5604        10/19         $24,125.38     5632          10/16           $646.35
 5573              10/05                $7,192.75          5606*       10/16            $100.00     5633          10/17           $471.39
 5574              10/26               $10,637.78          5607        10/20             $51.98     5635*         10/23           $836.77
 5575              10/06                   $51.98          5608        10/18            $246.08     5636          10/23            $52.67
 5576              10/02                  $800.00          5610*       10/16            $100.00     5637          10/13           $845.00
 5577              10/05                  $116.75          5612*       10/27          $1,521.30     5638          10/16           $100.00
 5578              10/04                $2,677.86          5613        10/19          $3,204.20     5639          10/19         $1,321.24
 5579              10/04                $2,814.50          5614        10/13            $100.00     5640          10/17           $150.00
 5580              10/02                   $37.50          5615        10/13          $3,536.56     5641          10/26         $1,768.09
 5581              10/02                   $81.68          5616        10/13            $101.00     5642          10/13           $100.00
 5582              10/05                  $945.00          5617        10/18            $653.88     5643          10/18         $3,511.95
 5584*             10/05                  $364.80          5618        10/13            $100.00     5644          10/18           $145.45
 5585              10/04                $1,998.01          5619        10/23            $150.00     5645          10/17           $150.00
 5592*             10/06                  $150.00          5620        10/23          $3,012.33     5646          10/17         $1,501.71


                                                                                                                             PAGE 7 OF 8

Products and services are offered by Capital One, N.A., Member FDIC.
©2017 Capital One. All rights reserved.
  Case 1:17-bk-12408-MB     Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48             Desc
                             Main Document    Page 39 of 41



ACCOUNT DETAIL      CONTINUED FOR PERIOD OCTOBER 01, 2017      - OCTOBER 31, 2017
Check No.   Date       Amount     Check No.   Date          Amount   Check No.   Date           Amount
5647        10/19       $686.00   5654        10/25       $70.00     5661*       10/30       $9,000.00
5648        10/27     $2,500.00   5655        10/23        $5.33     5663*       10/31         $533.40
5649        10/31     $7,192.75   5656        10/24      $498.80     5664        10/30         $441.22
5651*       10/26     $1,301.51   5657        10/27   $16,382.45     5665        10/31      $17,500.00
5652        10/26     $2,163.27   5658        10/25    $1,479.04     5668*       10/30         $830.00
5653        10/23       $950.00   5659        10/30    $7,693.48




                                                                                            PAGE 8 OF 8
          Case 1:17-bk-12408-MB                         Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48                    Desc
                                                         Main Document    Page 40 of 41




       IRONCLAD PERFORMANCE WEAR CORPORATION
       "DIP" CENTRAL DISTRICT OF CALIFORNIA                                       4Contact your Relationship Manager to discuss
                                                                                    targeted solutions for your evolving business needs.
       CASE # 1:17-BK-12408-MB
       1920 HUTTON CT, SUITE 300
       DALLAS TX 75234-9017




ACCOUNT SUMMARY                             FOR PERIOD OCTOBER 01, 2017 - OCTOBER 31, 2017



Previous Balance 09/30/17                                     $0.00         Number of Days in Cycle                                31
1 Deposits/Credits                                    $1,400,000.00         Minimum Balance This Cycle                          $0.00
1 Checks/Debits                                       ($199,000.00)         Average Collected Balance                     $271,193.54
Service Charges                                               $0.00
Ending Balance 10/31/17                               $1,201,000.00

ACCOUNT DETAIL                      FOR PERIOD OCTOBER 01, 2017           - OCTOBER 31, 2017


Date       Description                                                 Deposits/Credits   Withdrawals/Debits          Resulting Balance
10/25      Book transfer credit FROM ...0567                             $1,400,000.00                                     $1,400,000.00
10/25      Book transfer debit TO ...0575                                                           $199,000.00            $1,201,000.00
Total                                                                    $1,400,000.00              $199,000.00




                                                           Thank you for banking with us.                                   PAGE 1 OF 2

Products and services are offered by Capital One, N.A., Member FDIC.
©2017 Capital One. All rights reserved.
Case 1:17-bk-12408-MB   Doc 299 Filed 12/06/17 Entered 12/06/17 16:55:48    Desc
                         Main Document    Page 41 of 41




                                                                            PAGE 2 OF 2



                                                                       PSI: 0 / SHC: 0 / LOB :C
